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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

Juma Gulzar, and                                      )
All Other Similarly Situated                          )
             Plaintiffs,                              )             Civil Action
                                                      )             File No. 4:14-cv-01088
                                                      )
v.                                                    )
                                                      )
Arfiana Eagles, Inc.; Kayam                           )
Ventures, L.L.C.; Lokhandwala                         )             JURY DEMANDED
Investment Group, LLC; Aziz                           )
Kasambhai Prasla; Mehrim Aziz                         )
Prasla; and, Sultan Alibhai Momin                     )
             Defendants.                              )
                                                      )

                                                  ORDER

             Having considered the parties’ Joint Motion for Approval of the FLSA Settlement

     Agreement and Dismissal with Prejudice, the Court is of the opinion that the motion should be

     GRANTED.

             IT IS THEREFORE ORDERED the Settlement Agreement is approved as fair and

     reasonable. Plaintiff’s claims against all Defendants are dismissed with prejudice. Each party shall

     be responsible for its own costs.


             Signed at Houston, Texas, this _______ day of ________________________, ________.




                                                   ___________________________________________
                                                       UNITED STATES DISTRICT JUDGE
